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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                              Chapter 11

AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                          Case No. 23-11469 (BLS)

                                  Debtors.                          (Joint Administration Requested)


                           NOTICE OF APPEARANCE AND
                    DEMAND FOR SERVICE OF NOTICES AND PAPERS

         PLEASE TAKE NOTICE that the attorneys set forth below hereby appear on behalf of

Goldman Sachs Specialty Lending Group, L.P. (“Goldman Sachs Specialty Lending”) and

demand, pursuant to rules 2002, 9007 and 9010(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”) and sections 1109(b) and 342 of Title 11 of the United States Code

(the “Bankruptcy Code”), that all notices given in the above-captioned cases and all papers

served or required to be served in the above-captioned cases be given to and served upon the

undersigned counsel at the addresses set forth below:

W. Austin Jowers (pro hac vice pending)                   John H. Knight (No. 3848)
KING & SPALDING LLP                                       Zachary J. Javorsky (No. 7069)
1180 Peachtree Street, NE, Suite 1600                     RICHARDS, LAYTON & FINGER, P.A.
Atlanta, GA 30309                                         One Rodney Square
Telephone: (404) 572-4600                                 920 North King Street
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                                                          Telephone: (302) 651-7700
Lindsey Henrikson (pro hac vice pending)                  Facsimile: (302) 651-7701
KING & SPALDING LLP                                       Email: knight@rlf.com
110 N. Wacker Dr, Suite 3800                                     javorsky@rlf.com
Chicago, IL 60606
Telephone: (312) 995-6333
Email: lhenrikson@kslaw.com




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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The
    location of American Physician Partners, LLC’s principal place of business and the Debtors’ service address in
    these Chapter 11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.
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       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules specified above, but also includes,

without limitation, all orders and notices of any application, motion, order, petition, pleading,

request, complaint, or demand, statement of financial affairs, operating report, schedule of assets

and liabilities, whether formal or informal, whether written or oral, and whether transmitted or

conveyed by mail, hand delivery, telephone, facsimile transmission, or otherwise, that affects the

Debtors, property of the Debtors, or property of the estates.

       PLEASE TAKE FURTHER NOTICE that this appearance and demand for notice is

neither intended as nor is it a consent of Goldman Sachs Specialty Lending to the jurisdiction

and/or venue of the Bankruptcy Court nor, specifically, but not limited to, a waiver of (i)

Goldman Sachs Specialty Lending’s right to trial by jury in any proceeding so triable herein, or

in any case, controversy or proceeding related hereto, (ii) Goldman Sachs Specialty Lending’s

right to have an Article III judge adjudicate in the first instance any case, proceeding, matter or

controversy as to which a bankruptcy judge may not enter a final order or judgment consistent

with Article III of the United States Constitution, (iii) Goldman Sachs Specialty Lending’s right

to have the reference withdrawn by the District Court in any case, proceeding, matter or

controversy subject to mandatory or discretionary withdrawal or (iv) any other rights, claims,

actions, defenses, set-offs, or recoupments to which Goldman Sachs Specialty Lending is or may

be entitled to under any agreement, in law or in equity, all of which rights, claims, actions,

defenses, set-offs, and recoupments Goldman Sachs Specialty Lending expressly reserves.




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Dated: September 19, 2023                 /s/ John H. Knight
       Wilmington, Delaware               John H. Knight (No. 3848)
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                                          -and-

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                                          Counsel to Goldman Sachs Specialty Lending




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